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                                                                                                               8   COUNTY OF SHASTA; SHASTA COUNTY
                                                                                                                   SHERIFF’S DEPARTMENT; LIEUTENANT JERRY
                                                                                                               9   FERNANDEZ, DETECTIVE JACOB DUNCAN, and
                                                                                                                   DETECTIVE JEREMY ASHBEE
                                                                                                              10

                                                                                                              11                                          UNITED STATES DISTRICT COURT
                                             18101 VON KARMAN AVENUE, SUITE 1000
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                                                                                                              12                                      EASTERN DISTRICT OF CALIFORNIA
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                             SACRAMENTO DIVISION

                                                                                                              14

                                                                                                              15   E.L., a minor, by and through her general              Case No. 2:22-cv-01527-DAD-AC
                                                                                                                   guardian, JESSICA LONG; JESSICA LONG,
                                                                                                              16   an individual,                                         NOTICE OF MOTION AND MOTION
                                                                                                                                                                          FOR SUMMARY JUDGMENT, OR IN
                                                                                                              17                            Plaintiffs,                   THE ALTERNATIVE, SUMMARY
                                                                                                                                                                          ADJUDICATION OF ISSUES BY
                                                                                                              18            v.                                            DEFENDANTS LIEUTENANT JERRY
                                                                                                                                                                          FERNANDEZ, DETECTIVE JACOB
                                                                                                              19   LIEUTENANT JERRY FERNANDEZ, in his                     DUNCAN, DETECTIVE JEREMY
                                                                                                                   individual capacity; DETECTIVE JACOB                   ASHBEE, SHASTA COUNTY
                                                                                                              20   DUNCAN, in his individual; DETECTIVE                   SHERIFF’S DEPARTMENT, AND THE
                                                                                                                   JEREMY ASHBEE, in his individual capacity;             COUNTY OF SHASTA
                                                                                                              21   and DOES 1 through 10,
                                                                                                                                                                          Date:           October 1, 2024
                                                                                                              22                            Defendants.                   Time:           1:30 p.m.
                                                                                                                                                                          Judge:          Hon. Dale A. Drozd
                                                                                                              23                                                          Action Filed:   August 31, 2022
                                                                                                                                                                          Trial Date:     October 7, 2024
                                                                                                              24

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                                                                                                              28                                                                              2:22-CV-01527-DAD-AC
                                                                                                                                                                                 MOTION FOR SUMMARY JUDGMENT,
                                                                                                                                                                                 OR IN THE ALTERNATIVE, SUMMARY
                                                                                                                   55398.00040\42513058.1                                       ADJUDICATION OF ISSUES BY COUNTY
                                                                                                                                                                                                      DEFENDANTS
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                                                                                                               1            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                                                                                                               2            PLEASE TAKE NOTICE THAT, on Tuesday, October 1, 2024 at 1:30 p.m., or as soon

                                                                                                               3   thereafter as the matter may be heard, in Courtroom 4, 15th Floor of the aforementioned Court,

                                                                                                               4   located at 501 I Street, Sacramento, CA 95814, Defendants Lieutenant Jerry Fernandez, Detective

                                                                                                               5   Jacob Duncan, Detective Jeremy Ashbee (collectively “County Officers”), the Shasta County

                                                                                                               6   Sheriff’s Department, and the County of Shasta (with the County Officers, collectively “County

                                                                                                               7   Defendants”) will and do hereby move the Court for an order granting summary judgment on all

                                                                                                               8   cause of action asserted against the County Defendants in the Second Amended Complaint

                                                                                                               9   (“SAC”). Alternatively, if for any reason summary judgment cannot be held against the County
                                                                                                              10   Defendants on all causes of action concurrently, the County Defendants will and hereby move the

                                                                                                              11   Court for an order granting summary adjudication with respect to each individual cause of action.
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                                                                                                              12   This Motion is made pursuant to Federal Rule of Civil Procedure Rule 56, on the grounds that the
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   SAC has no merit, that there are no triable issues as to any material fact, and that the County

                                                                                                              14   Defendants are entitled to judgment as a matter of law. Specifically, County Defendants are

                                                                                                              15   entitled to a judgment as a matter of law as follows:

                                                                                                              16            1.        Plaintiffs’ First Cause of Action – Right to Be Secure From Unreasonable

                                                                                                              17   Searches and Seizures Fourth Amendment to U.S. Constitution (42 U.S.C. § 1983) – has no legal

                                                                                                              18   basis and is unsupported by undisputed material facts;

                                                                                                              19            2.        Plaintiffs’ Second Cause of Action – Denial of Constitutional Right of Due
                                                                                                              20   Process of Law Fourteenth Amendment to the U.S. Constitution (42 U.S.C. § 1983) – has no

                                                                                                              21   legal basis and is unsupported by undisputed material facts;

                                                                                                              22            3.        Plaintiffs’ Fifth Cause of Action – Denial of Constitutional Right against

                                                                                                              23   Unreasonable Search and Seizure California Constitution, Article 1, § 13 – has no legal basis and

                                                                                                              24   is unsupported by undisputed material facts;

                                                                                                              25            4.        Plaintiffs’ Sixth Cause of Action – Denial of Constitutional Right to Due Process

                                                                                                              26   of Law California Constitution, Article I, § 7(a) – has no legal basis and is unsupported by

                                                                                                              27   undisputed material facts;

                                                                                                              28                                                                                 2:22-CV-01527-DAD-AC
                                                                                                                                                                                    MOTION FOR SUMMARY JUDGMENT,
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                                                                                                                                                                                                         DEFENDANTS
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                                                                                                               1            5.        Plaintiffs’ Ninth Cause of Action – Conversion – has no legal basis and is

                                                                                                               2   unsupported by undisputed material facts;

                                                                                                               3            6.        Plaintiffs’ Eleventh Cause of Action – Negligence – has no legal basis and is

                                                                                                               4   unsupported by undisputed material facts.

                                                                                                               5            In accordance with Judge Dale Drozd’s standing orders, counsel for the County

                                                                                                               6   Defendants engaged in a pre-filing meet and confer conference with Plaintiffs’ counsel on July

                                                                                                               7   23, 2024. This Motion is made after meet and confer efforts have been exhausted without a

                                                                                                               8   resolution of the issues raised in this Motion. (See, concurrently filed Declaration of Damian A.

                                                                                                               9   Northcutt (“Northcutt Decl.”), ¶3.)
                                                                                                              10            This Motion is based upon this Notice of Motion, the attached Memorandum of Points

                                                                                                              11   and Authorities, the accompanying Separate Statement of Undisputed Material Facts (“UMF”),
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                                                                                                              12   the concurrently filed Declaration of Damian A. Northcutt, the pleadings and records on file with
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13   this Court, and upon such oral or documentary evidence as may be presented at the hearing of this

                                                                                                              14   Motion.

                                                                                                              15   Dated: July 31, 2024                                  BEST BEST & KRIEGER LLP
                                                                                                              16

                                                                                                              17                                                         By:/s/ Damian A. Northcutt
                                                                                                                                                                             JEFFREY V. DUNN
                                                                                                              18                                                             CHRISTOPHER M. PISANO
                                                                                                                                                                             DAMIAN A. NORTHCUTT
                                                                                                              19
                                                                                                                                                                             Attorneys for Defendants
                                                                                                              20                                                             COUNTY OF SHASTA; SHASTA
                                                                                                                                                                             COUNTY SHERIFF’S DEPARTMENT;
                                                                                                              21                                                             LIEUTENANT JERRY FERNANDEZ,
                                                                                                                                                                             DETECTIVE JACOB DUNCAN, and
                                                                                                              22                                                             DETECTIVE JEREMY ASHBEE
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                                                                                                               1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                                               2   I.       INTRODUCTION

                                                                                                               3            This is a lawsuit over a stolen goat named Cedar. In October of 2021, Plaintiff Jessica

                                                                                                               4   Long enrolled her daughter, E.L., into the Cowcreek 4-H program where she learned about the

                                                                                                               5   process of raising meat for market. Jessica Long bought her daughter a market goat (wether goat)

                                                                                                               6   and they named it Cedar. They entered the goat into a livestock auction at the Shasta District

                                                                                                               7   Fair (“District Fair”) with knowledge that Cedar would be sold for meat. In 4-H, Plaintiff E.L.,

                                                                                                               8   learned about how goats are raised, sold, and eaten worldwide.

                                                                                                               9            Despite being aware that Cedar would be sold for food, neither Jessica Long nor E.L.
                                                                                                              10   removed the goat from the 4-H program or auction at the District Fair. Instead, both Plaintiffs

                                                                                                              11   allowed the goat to be auctioned for meat on June 25, 2022. After the goat had been sold to the
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                                                                                                              12   highest bidder, Jessica Long and E.L. had seller’s remorse. That evening at the District Fair,
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                                                                                                              13   Jessica Long stole the goat and ultimately crossed multiple counties in an effort to hide Cedar

                                                                                                              14   from the District Fair and law enforcement. Once the goat was located, it was returned to the

                                                                                                              15   rightful owner after the auction, and was ultimately killed for food, as originally intended.

                                                                                                              16            Plaintiffs stole a goat. Now they are suing the law enforcement officers that helped to

                                                                                                              17   recover the goat (Lieutenant Jerry Fernandez, Detective Jacob Duncan, and Detective Jeremy

                                                                                                              18   Ashbee) (collectively “County Officers”) as well as the Shasta County Sheriff’s Department and

                                                                                                              19   County of Shasta (with the County Officers, collectively “County Defendants”). Plaintiffs’
                                                                                                              20   Second Amended Complaint (“SAC”), and all of the counts therein, fail because Plaintiffs stole

                                                                                                              21   the goat and did not have any property interest in it after the auction; there was probable cause to

                                                                                                              22   believe a crime had been committed and County Officers obtained a warrant; the goat was seized

                                                                                                              23   pursuant to a consent search, which made the warrant unnecessary in any event; and the officers

                                                                                                              24   acted reasonably and returned the goat to its rightful owner.

                                                                                                              25            For these reasons, and those set forth below, the County Defendants are entitled to

                                                                                                              26   summary judgment/summary adjudication.

                                                                                                              27   ///

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                                                                                                               1   II.      STATEMENT OF FACTS

                                                                                                               2            A.        Plaintiffs’ Purchase of Cedar and 4-H Program
                                                                                                               3            Plaintiff Jessica Long enrolled her daughter, E.L., in the Cow Creek 4-H in approximately

                                                                                                               4   October of 2021. (UMF No. 49.) She purchased Cedar the goat in approximately April of 2022.

                                                                                                               5   (UMF No. 57.) Between October and May of 2021, Plaintiffs participated in approximately

                                                                                                               6   monthly 4-H meetings and learned about raising meat goats. (UMF Nos. 50 and 51.) They

                                                                                                               7   learned about the best parts of the goat to eat (UMF Nos. 50 and 51.) They learned about selling

                                                                                                               8   the goat and goat anatomy. UMF Nos. 50 and 51.) E.L. even ate goat meat during the program.

                                                                                                               9   ( UMF Nos. 16, 50, and 51.) Plaintiffs learned that meat goats are raised to be killed and used as
                                                                                                              10   meat, and that Cedar would be killed and used for meat. (UMF Nos. 50, 51 and 56.) It was not a

                                                                                                              11   requirement of the 4-H meat goat project that Plaintiffs enter their goat in the District Fair. (UMF
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                                                                                                              12   Nos. 4, 52 and 54.)
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                                                                                                              13            In mid-May, 2022, Jessica Long entered Cedar to be auctioned at the District Fair. (UMF

                                                                                                              14   Nos. 11 and 12.) She entered the goat on behalf of her daughter E.L. and agreed to the rules and

                                                                                                              15   regulations concerning the District Fair. (UMF Nos. 17 and 18.) At no time prior to the day of

                                                                                                              16   the auction, did Plaintiffs make any effort to contact the District Fair to avoid putting Cedar up

                                                                                                              17   for auction. (UMF Nos. 2 and 3.) At no point prior to the auction of Cedar did E.L. tell her 4-H

                                                                                                              18   leader that she no longer wanted Cedar to be go through with the auction, or ask that Cedar be

                                                                                                              19   removed from District Fair. (UMF No. 53 and 54.)
                                                                                                              20            Shortly before the Fair, E.L. drafted a buyer’s letter encouraging locals to come to the

                                                                                                              21   District Fair and bid on her goat. E.L.’s buyer letter that stated, in part:

                                                                                                              22
                                                                                                                            “Dear buyer, hello, my name is E.L. I am in Cow Creek 4-H. This is my first year in 4-H.
                                                                                                              23            I have decided to raise a meat got [SIC] whether for my project. His name is Cedar. In
                                                                                                              24            this year I have learned how to feed a….I have learned how to cure goat diseases. This
                                                                                                                            year I have learned how to take care of meat goat. My goat is very great and he will be
                                                                                                              25            very good palin [SIC] and in tacos and every other way he will be very good and
                                                                                                                            tasty…“”
                                                                                                              26
                                                                                                                            (UMF No. 15.) [Emphasis added.]
                                                                                                              27

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                                                                                                               1            In May of 2022, E.L. told Kay Delaloza “Oh, I’m so tired of Cedar. I can’t wait till I sell

                                                                                                               2   him at fair.” (UMF No. 84.)

                                                                                                               3            B.        The Theft of Cedar The Goat
                                                                                                               4            On June 25, 2022, Plaintiffs Jessica Long and E.L. attended the District Fair. (UMF No.

                                                                                                               5   7.) At the District Fair, it was announced that the highest bidder would donate Cedar to the 4-H

                                                                                                               6   FFA Community barbeque. (UMF No. 21.) E.L. exhibited the animal, and bids were placed for

                                                                                                               7   the sale of Cedar. (UMF No. 7.) Ultimately, California State Senator Brian Dahle (“State

                                                                                                               8   Senator Dahle”), through his agent, Kathie Muse, placed the highest bid for Cedar ($902.00) and

                                                                                                               9   donated the goat to the 4-H/FFA BBQ to be used for meat at its annual barbeque. (UMF Nos. 7,
                                                                                                              10   78, 81.)

                                                                                                              11            After the bidding was over in the early afternoon, E.L. and her mother enjoyed the District
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                                                                                                              12   Fair visiting exhibits. (UMF Nos. 7 and 22.) E.L. went on rides, explored buildings with quilts
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                                                                                                              13   and archery, and got food and a snow cone. (UMF No. 22.)

                                                                                                              14            At approximately 9:00 p.m. on June 25, 2022, Plaintiff Jessica Long convinced her

                                                                                                              15   daughter that they should take Cedar from the fair, despite the fact that the goat had already been

                                                                                                              16   sold. (UMF Nos. 6, and 8.) E.L. did not think that removing Cedar was even an option. (UMF

                                                                                                              17   No. 20.) Jessica Long loaded the goat into the back of her car, drove to Sacramento and

                                                                                                              18   communicated with third parties about ways to avoid returning the goat. (UMF Nos. 9 and 46.)

                                                                                                              19   She also reached out to the District Fair and admitted in an email that she took Cedar from the
                                                                                                              20   fairgrounds. (UMF No. 63.)

                                                                                                              21            C.        Preliminary Investigation Concerning the Theft of Cedar

                                                                                                              22            On or about June 29, 2022, Lieutenant Jerry Fernandez (“Lt. Fernandez”) with the Shasta

                                                                                                              23   County Sherriff’s Office, was contacted regarding the theft of livestock from the District Fair.

                                                                                                              24   (UMF No. 29 and 80.) Lt. Fernandez reached out to Bruce MacFarlane (“BJ MacFarlane”), the

                                                                                                              25   livestock manager for the District Fair, and was informed that Cedar had been stolen during the

                                                                                                              26   end of the junior livestock auction. (UMF No. 29.)

                                                                                                              27            Lt. Fernandez initiated an investigation into the theft of the goat and learned that Kathie

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                                                                                                               1   Muse, the head of the 4-H/FFA Community BBQ, had first reported the livestock theft. (UMF

                                                                                                               2   No. 30 and 80.) According to Kathie Muse, State Senator Dahle had purchased the meat goat at

                                                                                                               3   the District Fair paying $902.00. (UMF No. 78,) The Senator then donated the animal to her for

                                                                                                               4   the 4-H/FFA Community BBQ. (UMF No. 81.)

                                                                                                               5            In the course of his investigation, Lt. Fernandez reviewed communications from Jessica

                                                                                                               6   Long, the sales invoice for the auction, social media posts, the District Fair local/state rules, as

                                                                                                               7   well as the terms of the contract between the District Fair and Jessica Long. (UMF No. 30.)

                                                                                                               8            Based on the information presented to him, Lt. Fernandez, in his capacity as a law

                                                                                                               9   enforcement officer, determined that Jessica Long had committed grand theft under Penal Code §
                                                                                                              10   487(a). (UMF No. 83.) He relayed this information to Detective Jeremy Ashbee (“Detective

                                                                                                              11   Ashbee”) who prepared several warrants for the retrieval of goat. (UMF Nos. 68 and 69.)
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                                                                                                              12            D.        Warrants To Retrieve Cedar
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                                                                                                              13            Detective Ashbee drafted search warrants to permit a search Bleating Hearts Farm and

                                                                                                              14   Sanctuary, located at 1132 3rd Avenue, Napa, CA 94558 (“Bleating Hearts”). (UMF No. 71 and

                                                                                                              15   82.) It was believed the goat was at Beating Hearts because of social media posts and facts

                                                                                                              16   obtained in the investigation. (UMF Nos. 31, 66 and 69.) The operative and final warrant

                                                                                                              17   included language signed by the Magistrate stating “Due to the fact the item(s) to be seized

                                                                                                              18   include living animals, Deputies shall secure the property in a humane and appropriate location,

                                                                                                              19   and the rightful owner of said property shall be notified of the location of the property. The
                                                                                                              20   property may be released to the owner upon seizure.” (UMF No. 70.)

                                                                                                              21            On July 8, 2022, Lieutenant Ramirez recruited Detective Jacob Duncan (“Detective

                                                                                                              22   Duncan”) to accompany him to serve the operative and final warrant at Bleating Hearts Farm in

                                                                                                              23   Napa, California. (UMF Nos. 35 and 36)

                                                                                                              24            E.        The Search for Cedar
                                                                                                              25            Upon arriving at Bleating Hearts, Lieutenant Fernandez and Detective Duncan were

                                                                                                              26   unable to locate Cedar. (UMF No. 38 and 72.) They interviewed the owners, Justin Starky and

                                                                                                              27   Kristin Stover who both denied knowing the location of the goat. (UMF No. 39 and 41.) In

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                                                                                                               1   interviewing Kristin Stover, Detective Duncan became suspicious that she was not being honest

                                                                                                               2   about not knowing the location of Cedar. (UMF Nos. 39, 40, and 41) He pressed her on the issue

                                                                                                               3   and she ultimately acknowledged that she did know Cedar’s location. (UMF No. 40, 41, 42, and

                                                                                                               4   43.) Kristin Stover gave Detective Duncan consent to view texts on her phone which confirmed

                                                                                                               5   the goat was located at Billy’s Mini Farm in Petaluma, California. (UMF No. 40, 41, and 42.)

                                                                                                               6   Being that Billy’s Mini Farm was only approximately 37 miles from Bleating Hearts, Lt.

                                                                                                               7   Fernandez and Detective Duncan decided to go to there instead of immediately returning to

                                                                                                               8   Shasta County. (UMF No. 43.)

                                                                                                               9            Prior to arriving at Billy’s Mini Farm, Detective Duncan learned the Raymond Allen was
                                                                                                              10   the owner of the farm. (UMF No. 44.) He was able to locate Raymond Allen’s telephone number

                                                                                                              11   and called him on his cell phone. (UMF No. 44.) Detective Duncan explained that they were
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                                                                                                              12   investigating the possible theft of a goat, and asked if Cedar was at his property. (UMF No. 44
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                                                                                                              13   and 45.) Raymond Allen stated that Cedar had been donated to him by and that Cedar was his

                                                                                                              14   property. (UMF No. 45.) Raymond Allen gave consent to Detective Duncan to search his farm,

                                                                                                              15   and Cedar was located on the property. (UMF No. 45.)

                                                                                                              16            F.        The Retrieval of Cedar
                                                                                                              17            On the evening of July 8, 2022, Cedar was located at Billy’s Mini Farm and obtained by

                                                                                                              18   Lieutenant Fernandez and Detective Duncan. (UMF No. 74.) They drove the goat back to Shasta

                                                                                                              19   County where they delivered it to BJ MacFarlane, who was acting as an agent for Kathie Muse.
                                                                                                              20   (UMF No. 47, 77 and 79.)

                                                                                                              21            BJ MacFarlane housed Cedar for approximately twenty days thereafter. On

                                                                                                              22   approximately July 28, 2022, Cedar was killed by a meat processing facility, as intended. (UMF

                                                                                                              23   No. 67.) A check was subsequently issued by the District Fair for the proceeds of the sale Cedar.

                                                                                                              24   (UMF No. 55)

                                                                                                              25   III.     LEGAL STANDARD ON SUMMARY JUDGMENT

                                                                                                              26            A party moving for summary judgment has the burden of establishing the absence of

                                                                                                              27   triable issues. (Fed. R. Civ. Proc. 56(c); British Airways Ed. v. Boeing Co., 585 F.2d 946, 951

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                                                                                                               1   (9th Cir. 1978).) If the non-moving party has the burden of proof at trial, the moving party does

                                                                                                               2   not have to negate the opponent’s claim; rather, the moving party may simply demonstrate the

                                                                                                               3   absence of evidence in support of the claim. (Celotex Corp. v. Catrett, 477 U.S. 317, 323

                                                                                                               4   (1986).)

                                                                                                               5            Once the initial burden is met, the adverse party may not rest upon the mere allegations or

                                                                                                               6   denials in the pleadings; the adverse party’s response “must set forth specific facts showing that

                                                                                                               7   there is a genuine issue for trial.” (Fed. R. Civ. Proc. 56(e).) “The opposing evidence must be

                                                                                                               8   sufficiently probative to permit a reasonable trier of fact to find in favor of the opposing

                                                                                                               9   party…[t]he mere existence of a scintilla of evidence in support of the plaintiff’s position will be
                                                                                                              10   insufficient; there must be evidence on which a reasonable jury could reasonably find for

                                                                                                              11   plaintiff.” (Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50, 52 (1986).)
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                                                                                                              12            The test is whether the opposing party “has come forward with sufficiently ‘specific’ facts
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                                                                                                              13   from which to draw reasonable inferences about other material facts that are necessary elements

                                                                                                              14   of the (opposing party’s) claim.” (Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th

                                                                                                              15   Cir. 1995) (parentheses added); Rogan v. City of Boston, 267 F.3d 24, 27 (1st Cir. 2001)

                                                                                                              16   (obligation cannot be satisfied by “conclusory allegations, empty rhetoric, unsupported

                                                                                                              17   speculation, or evidence which, in the aggregate, is less than significantly probative.”).)

                                                                                                              18   IV.      LEGAL ARGUMENT

                                                                                                              19            A.        Plaintiffs’ First Cause of Action for Unreasonable Search and Seizure Fails
                                                                                                                                      Against the County Defendants
                                                                                                              20

                                                                                                              21            “The Fourth Amendment provides in relevant part that “[t]he right of the people to be

                                                                                                              22   secure in their persons, houses, papers, and effects, against unreasonable searches and seizures,

                                                                                                              23   shall not be violated.” (United States v. Jones, 565 U.S. 400, 404, 132 S. Ct. 945, 949, 181 L. Ed.

                                                                                                              24   2d 911 (2012) “A ‘seizure’ of property occurs when there is some meaningful interference with

                                                                                                              25   an individual’s possessory interests in that property.” (Lavan v. City of Los Angeles (9th Cir. 2012

                                                                                                              26   693 F.3d 1022, 1027.) The “…Fourth Amendment does not proscribe all state initiated searches

                                                                                                              27   and seizures; it merely proscribes those that are unreasonable.” (Florida v. Jimeno (1991) 500

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                                                                                                               1   U.S. 248, 250 [internal citations omitted.].)

                                                                                                               2                      1.    Cedar Was Not Plaintiffs’ Property After The Sale At The Auction
                                                                                                               3            General principles of auction law provide a baseline rule that the close of an auction-the

                                                                                                               4   fall of the hammer-signals acceptance of the offer and creates a binding contract between the

                                                                                                               5   seller and the high bidder. (See, Blossom v. Railroad Co., 70 U.S. (3 Wall.) 196, 206, 18 L.Ed. 43

                                                                                                               6   (1865) (“[A]s soon as the hammer is struck down ... the bargain is considered as concluded, and

                                                                                                               7   the seller has no right afterwards to accept a higher bid nor the buyer to withdraw from the

                                                                                                               8   contract.”) (footnote and citations omitted); Lawrence Paper Co. v. Rosen & Co., 939 F.2d 376,

                                                                                                               9   378–79 (6th Cir.1991) (“ ‘The contract becomes complete only when the bid is accepted, this
                                                                                                              10   being ordinarily denoted by the fall of a hammer.’ ”) (quoting 7 AM.JUR.2D Auctions &

                                                                                                              11   Auctioneers § 16 (1980 & Supp.1991)); Bottorff v. Ault, 374 F.2d 832, 835 (7th Cir.1967) (“The
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                                                                                                              12   sales here were at auction. They were completed when the hammer fell or when the auctioneer
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                                                                                                              13   said ‘sold.’ ”) (citation omitted); United States v. Conrad, 619 F.Supp. 1319, 1321

                                                                                                              14   (M.D.Fla.1985) (“It has long been settled that a bid constitutes an offer and the fall of the hammer

                                                                                                              15   signifies acceptance.”).

                                                                                                              16            As “soon as the hammer is struck down, says the same author, the bargain is considered as

                                                                                                              17   concluded, and the seller has no right afterwards to accept a higher bid nor the buyer to withdraw

                                                                                                              18   from the contract.” Blossom v. Milwaukee & C.R. Co., supra, 70 U.S. at 206.

                                                                                                              19            A sale by auction is complete when the auctioneer so announces by the fall of the hammer
                                                                                                              20   or in other customary manner. Unif. Commercial Code § 2-328

                                                                                                              21            An auction is a public sale by competitive bidding where the seller invites competition

                                                                                                              22   and sells to the highest bidder. Auction sale as a contract, 3A Anderson U.C.C. § 2-328:6 (3d.

                                                                                                              23   ed.) An auction sale results in the making of a contract in which the bid is the offer and the action

                                                                                                              24   of the auctioneer in accepting the bid is the acceptance of the offer which results in the formation

                                                                                                              25   of a contract. (Id.)

                                                                                                              26            In California, “Auction” means a sale transaction conducted by means of oral or written

                                                                                                              27   exchanges, which include exchanges made in person or through electronic media, between an

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                                                                                                               1   auctioneer and the members of his or her audience, which exchanges consist of a series of

                                                                                                               2   invitations for offers for the purchase of goods made by the auctioneer and offers to purchase

                                                                                                               3   made by members of the audience and culminate in the acceptance by the auctioneer of the

                                                                                                               4   highest or most favorable offer made by a member of the participating audience. (Cal. Civ. Code

                                                                                                               5   § 1812.601.) An auctioneer has authority from a bidder at the auction, as well as from the seller,

                                                                                                               6   to bind both by a memorandum of the contract, as prescribed in the Title on Sale. (Cal. Civ. Code

                                                                                                               7   § 2363.)

                                                                                                               8            In this case, Plaintiffs placed Cedar the goat up for auction on June 25, 2022. State

                                                                                                               9   Senator Dahle won the auction as the highest bidder, and he donated the goat to 4-H/FFA
                                                                                                              10   Barbeque. (UMF Nos. 7, 76, 78, and 81.) Therefore, neither Jessica Long nor E.L. had any

                                                                                                              11   possessory or ownership interest in the goat thereafter. Accordingly, Plaintiffs have no standing
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                                                                                                              12   to assert a Fourth Amendment claim for unlawful search and seizure because the goat was not
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                                                                                                              13   their property after the auction. Plaintiffs are not asserting any other unlawful search or seizure

                                                                                                              14   claims under the Fourth Amendment. (See, UMF. Nos. 23-28.)

                                                                                                              15            Plaintiffs will contend that E.L. was the owner of the goat and that she had the right to

                                                                                                              16   disaffirm any contract she allegedly had with the District Fair. However, the facts clearly show

                                                                                                              17   that: (1) Jessica Long purchased the goat (UMF No. 57); and (2) Jessica Long entered the goat

                                                                                                              18   into the auction on E.L.’s behalf (UMF Nos. 11, 12, 13, 18, and 19.). Under such circumstances,

                                                                                                              19   Plaintiff E.L. cannot disaffirm the contract that ultimately led to the auction of Cedar, because the
                                                                                                              20   contract was between Jessica Long and the District Fair.

                                                                                                              21            In Hohe v. San Diego Unified Sch. Dist. (1990), 224 Cal. App. 3d 1559, 1564–65, the

                                                                                                              22   Court explained:

                                                                                                              23                      “It is true, with certain limited exceptions, a minor can disaffirm his
                                                                                                                                      or her contract. Civil Code section 35 provides, in relevant part,
                                                                                                              24                      “the contract of a minor may be disaffirmed by the minor himself,
                                                                                                                                      either before his majority or within a reasonable time afterwards....”
                                                                                                              25                      (Doyle v. Giuliucci (1965) 62 Cal.2d 606, 609, 43 Cal.Rptr. 697,
                                                                                                                                      401 P.2d 1.) The purpose of Civil Code section 35 is to protect the
                                                                                                              26                      minor from his own improvidence. It is often said, “he who
                                                                                                                                      affirmatively deals with a minor, does so at his peril.” (Holland v.
                                                                                                              27                      Universal Underwriters Ins. Co. (1969) 270 Cal.App.2d 417, 422,
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                                                                                                               1                      75 Cal.Rptr. 669.) However, the releases signed here were signed
                                                                                                                                      on Hohe's behalf by her parent. A parent may contract on behalf of
                                                                                                               2                      his or her children. Civil Code section 35 was not intended to
                                                                                                                                      affect contracts entered into by adults on behalf of their children.
                                                                                                               3                      (Doyle v. Giuliucci, supra, 62 Cal.2d at p. 609, 43 Cal.Rptr. 697,
                                                                                                                                      401 P.2d 1.) The court in Celli v. Sports Car Club of America, Inc.
                                                                                                               4                      (1972) 29 Cal.App.3d 511, 517, 105 Cal.Rptr. 904, found a release
                                                                                                                                      signed by a nine-year-old invalid because, among other reasons, the
                                                                                                               5                      minor's signature was the only signature on the release. We
                                                                                                                                      therefore hold Hohe cannot disaffirm the release based on her
                                                                                                               6                      minority. [Emphasis added.]

                                                                                                               7            In this case, Jessica Long entered Cedar into the District Fair on behalf of her daughter.

                                                                                                               8   Thus, E.L. cannot disaffirm the contract that was entered by her mother on her behalf. (See, UMF

                                                                                                               9   No. 19 where Plaintiff Jessica Long admits contract was between her and District Fair [Q. When

                                                                                                              10   you say she disaffirmed the contract, what contract were you talking about? A. Whatever

                                                                                                              11   contract I had with the fair.”] [Emphasis added.]
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                                                                                                              12                      2.     Cedar Was Not Seized Pursuant to a Warrant; He was Obtained
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                                                                                                                                             During a Consent Search
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                                                                                                              13

                                                                                                              14            A warrantless consent search is reasonable and thus consistent with the Fourth

                                                                                                              15   Amendment. Fernandez v. California, 571 U.S. 292, 306, 134 S. Ct. 1126, 1137, 188 L. Ed. 2d

                                                                                                              16   25 (2014) As stated in Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973), “…[a] pinnacle

                                                                                                              17   exception to the Fourth Amendment's presumptive warrant requirement is the voluntary consent

                                                                                                              18   search. When determining voluntariness of consent, the trial court must look at the totality of the

                                                                                                              19   circumstances. (Schneckloth, supra, 412 U.S. at 222.

                                                                                                              20            While Plaintiffs will undoubtedly argue that the warrants executed to seize Cedar the goat

                                                                                                              21   were invalid, Plaintiffs argument misses the point. Cedar was not obtained pursuant to a warrant.

                                                                                                              22   To the contrary, County Officers seized Cedar after Raymond Allen gave his voluntary consent to

                                                                                                              23   search his property and locate Cedar. (UMF. No. 74). Under such circumstances, it was not

                                                                                                              24   necessary to have a warrant, and the County Defendants’ actions in obtaining the goat were

                                                                                                              25   reasonable. Plaintiff’s allegations of alleged violations of California Penal Code §§1407, 1408,

                                                                                                              26   and 1523 are inapplicable because the goat was not seized pursuant to a warrant.

                                                                                                              27

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                                                                                                               1                      3.    Even if Cedar Was Seized Pursuant to a Warrant, the Warrant Was
                                                                                                                                            Valid, Was Based on Probable Cause, And Was Reasonable
                                                                                                               2

                                                                                                               3            Even if Plaintiffs could contend that Cedar was seized pursuant to a warrant, the warrants

                                                                                                               4   were valid and the County Defendants’ actions were reasonable. “A search is presumptively

                                                                                                               5   reasonable when executed pursuant to a warrant. A search warrant issued by a neutral magistrate,

                                                                                                               6   upon a finding of probable cause, must be afforded deference and creates a presumption that the

                                                                                                               7   officers executing the warrant acted in an objectively reasonable fashion. In order to overcome

                                                                                                               8   this presumption, a plaintiff must allege that the underlying affidavit was made by an individual

                                                                                                               9   who ‘knowingly and deliberately, or with a reckless disregard of the truth, made false statements

                                                                                                              10   or material omissions in his application of a warrant, and that such statements or omissions were

                                                                                                              11   necessary to the finding of probable cause.” (Velardi v. Walsh, 40 F.3d 569, 573 (2d Cir. 1994)
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                                                                                                              12   [Internal citations and quotation marks omitted.] [Emphasis added.]
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                                                                                                              13            Here, the warrants were based on probable cause, including statements from Jessica Long

                                                                                                              14   herself, admitting that she had stolen the goat. (UMF No. 63) The magistrate who signed the

                                                                                                              15   warrant also gave the County Officers authority to return the goat instead of holding it. The

                                                                                                              16   warrant stated, “Due to the fact the item(s) to be seized include living animals, Deputies shall

                                                                                                              17   secure the property in a humane and appropriate location, and the rightful owner of said property

                                                                                                              18   shall be notified of the location of the property. The property may be released to the owner upon

                                                                                                              19   seizure.” (UMF No. 70.) Thus, the County Officers acted lawfully and complied with the

                                                                                                              20   Magistrate’s order when they returned the goat to BJ McFarlane on July 8, 2022.

                                                                                                              21            B.        Plaintiffs’ Second Cause of Action for Violation of Due Process Under the
                                                                                                                                      Fourteenth Amendment Fails Against the County Defendants
                                                                                                              22

                                                                                                              23            A procedural due process claim has two distinct elements: (1) a deprivation of a

                                                                                                              24   constitutionally protected liberty or property interest, and (2) a denial of adequate procedural

                                                                                                              25   protections. (Brewster v. Bd. of Educ. of Lynwood Unified Sch. Dist., 149 F.3d 971, 982 (9th Cir.

                                                                                                              26   1998). In this case, Plaintiffs did not own Cedar the goat when he was located by the County

                                                                                                              27   Officers and returned on July 8, 2022. Thus, Plaintiffs cannot establish a due process claim.

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                                                                                                               1   Furthermore, the County Defendants did not owe Plaintiffs any procedural protections at that time

                                                                                                               2   because Plaintiffs no longer owned the goat. (UMF No. 81.)

                                                                                                               3            C.        Plaintiffs’ Fifth Cause of Action for Unreasonable Search and Seizure Under
                                                                                                                                      California Constitution, Article 1, § 13, And Sixth Cause of Action for Denial
                                                                                                               4                      of Due Process Under California Constitution, Article 1, § 7(a) Fail Against
                                                                                                                                      the County Defendants
                                                                                                               5

                                                                                                               6            There is no private cause of action for either unreasonable search and seizure or a

                                                                                                               7   violation of due process under the California Constitution. In Astorga v. Cnty. of Los Angeles,

                                                                                                               8   No. 220CV09805ABAGRX, 2022 WL 3449810, at *4 (C.D. Cal. Feb. 9, 2022), the Court found

                                                                                                               9   that plaintiffs cannot recovery monetary damages under Article 1 Section 13 of the California
                                                                                                              10   Constitution stating:

                                                                                                              11                      “…the Court finds Plaintiffs may not recover monetary damages
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                                                                                                                                      under [Article 1] Section 13 because there is “no evidence to
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                                                                                                              12                      suggest the State of California affirmatively intended to create a
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                                                                                                                                      damages remedy” under Section 13. Roy, 114 F. Supp. 3d at 1043
                                                                                                              13                      (quoting Wigfall v. City and Cnty. of S.F., No. C 06-4968-VRW,
                                                                                                                                      2007 WL 174434, at *5 (N.D. Cal. Jan. 22, 2007)). Further, the
                                                                                                              14                      availability of alternative remedies under state and federal law for
                                                                                                                                      Section 13 violations weighs against the creation of a constitutional
                                                                                                              15                      tort, as Plaintiffs can and have stated federal claims from which
                                                                                                                                      they may recover monetary damages.”
                                                                                                              16

                                                                                                              17            As similarly stated in Doe v. Cnty. of Orange, No. 820CV00322JWHGJS, 2022 WL

                                                                                                              18   18776166, at *22 (C.D. Cal. Dec. 16, 2022):

                                                                                                              19                      “Numerous California District Courts have concluded that Section
                                                                                                                                      13 does not provide for a money damages remedy. Some of those
                                                                                                              20                      decisions have been brief and others detailed, including a Katzberg
                                                                                                                                      analysis. See, e.g., Roy, 114 F. Supp. 3d at 1042-43 (collecting
                                                                                                              21                      cases finding no damages remedy available under Section 13,
                                                                                                                                      finding that the decision of Wigfall v. City and County of San
                                                                                                              22                      Francisco, No. C 06-4698-VRW, 2007 WL 174434, at *5 (N.D.
                                                                                                                                      Cal. Jan 22, 2007), did engage in a Katzberg analysis and found no
                                                                                                              23                      damages remedy available, and agreeing with and following its
                                                                                                                                      reasoning in concluding that no damages remedy exists under
                                                                                                              24                      Section 13); see also Astorga v. Cnty. of Los Angeles, No. 22-cv-
                                                                                                                                      09805-AB, 2022 WL 3449810, at *4 (C.D. Cal. Feb. 9, 2022)
                                                                                                              25                      (same); Novel v. Los Angeles Cnty. Sheriffs Dep't, No. 2:19-cv-
                                                                                                                                      01922, 2019 WL 7940676, at *6 (C.D. Cal. July 23, 2019) (same);
                                                                                                              26                      Buzayan v. City of Davis Police Dep't, No. CV 06-01576, 2007 WL
                                                                                                                                      7398263, at *8-*9 (E.D. Cal. Aug. 8, 2007) (same); see further
                                                                                                              27                      Libby v. City of Gridley, No. 2:21-cv-00017-JAM-AC, 2022 WL
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                                                                                                               1                      493079, at *3 (E.D. Cal. Feb. 17, 2022) (finding that the “weight of
                                                                                                                                      authority” in the Eastern District “leans in favor” of finding that no
                                                                                                               2                      damages remedy exists under Section 13). Some District Courts
                                                                                                                                      have concluded otherwise and allowed a Section 13 claim seeking
                                                                                                               3                      damages to proceed. See Ordonez v. Stanley, 495 F. Supp. 3d 855,
                                                                                                                                      867 (C.D. Cal. 2020); Garcia v. Cnty. of Riverside, No. EDCV 13-
                                                                                                               4                      616-JGB, 2017 WL 11631219, at *5 (C.D. Cal. April 28, 2017).”

                                                                                                               5            Simply put, there is no private cause of action under Article I, Section 13. (See, In Est. of

                                                                                                               6   F.R. v. Cnty. of Yuba, No. 223CV00846WBSCKD, 2023 WL 6130049, at *7 (E.D. Cal. Sept. 19,

                                                                                                               7   2023), [“The court therefore concludes that no private cause of action is available under Article I,

                                                                                                               8   Section 13.”]

                                                                                                               9            Similarly, Plaintiffs cannot assert their sixth count for denial of due process under Article

                                                                                                              10   1, § 7(a). In Katzberg v. Regents of Univ. of California (2002) 29 Cal.4th 300, 328, the Court

                                                                                                              11   stated “The availability of meaningful alternative remedies leads us to decline to recognize a
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                                                                                                              12   constitutional tort to remedy the asserted violation of article I, section 7(a) in the case before us.”
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                                                                                                              13   In Reese-Bey v. Ochoa, No. CV 20-06693, 2020 WL 11767431, at *5 (C.D. Cal. Sept. 29, 2020),

                                                                                                              14   the Court stated, “It is undisputed that the California Constitution does not provide a direct cause

                                                                                                              15   of action for damages for either equal protection or a due process liberty interest violation.”

                                                                                                              16   [Emphasis added.] (See, also, Cabral v. Cnty. of Glenn, 624 F. Supp. 2d 1184, 1196 (E.D. Cal.

                                                                                                              17   2009) [“Article I, § 7(a) does not “afford a right to seek damages to remedy the asserted violation

                                                                                                              18   of the due process liberty interest.”

                                                                                                              19            D.        Plaintiffs’ Ninth Cause of Action for Conversion Fails Against The County
                                                                                                                                      Defendants
                                                                                                              20

                                                                                                              21            The elements of a conversion count in California are: (1) the plaintiff's ownership or right

                                                                                                              22   to possession of the property at the time of the conversion; (2) the defendant's conversion by a

                                                                                                              23   wrongful act or disposition of property rights; and (3) damages. (Ito v. Brighton/Shaw, Inc., No.

                                                                                                              24   06 CV 01135 AWI DLB, 2008 WL 2339557, at *3 (E.D. Cal. June 4, 2008). In order for a

                                                                                                              25   plaintiff to bring a conversion claim, they must establish their ownership or right to possession.

                                                                                                              26   (Id.)

                                                                                                              27            Here, Plaintiffs cannot establish their claim for conversion because, as indicated above,

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                                                                                                               1   they did not own the goat after the Senator Dahle placed the highest bid on behalf of the 4-H/FFA

                                                                                                               2   BBQ. (UMF No. 81.) Having no ownership interest in Cedar or right to possession, Plaintiffs

                                                                                                               3   cannot establish the first element of their claim for conversion, and summary judgment/summary

                                                                                                               4   adjudication should be entered in County Defendants favor.

                                                                                                               5            E.        Plaintiffs’ Eleventh Cause of Action for Negligence Fails Against The County
                                                                                                                                      Defendants
                                                                                                               6

                                                                                                               7            “The elements of a cause of action for negligence are (1) a legal duty to use reasonable

                                                                                                               8   care, (2) breach of that duty, and (3) proximate [or legal] cause between the breach and (4) the

                                                                                                               9   plaintiff's injury. The existence of a duty of care owed by a defendant to a plaintiff is a
                                                                                                              10   prerequisite to establishing a claim for negligence. The existence of a duty of care toward an

                                                                                                              11   interest of another worthy of legal protection is the essential prerequisite to a negligence cause of
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                                                                                                              12   action, determined as a matter of law by the court. The existence of a legal duty to use reasonable
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                                                                                                              13   care in a particular factual situation is a question of law for the court to decide.” (Saldate v.

                                                                                                              14   Wilshire Credit Corp., 686 F. Supp. 2d 1051, 1062 (E.D. Cal. 2010) [Internal citations and

                                                                                                              15   quotation marks omitted.])

                                                                                                              16            In this case, Plaintiffs cannot establish any duty on the part of the County Defendants, let

                                                                                                              17   alone a breach of said duty. Plaintiffs did not own Cedar the goat after the auction, the 4-H/FFA

                                                                                                              18   BBQ did. Thus, any duty owed by the County Defendants was to Cedar’s rightful owner (i.e., 4-

                                                                                                              19   H/FFA), and not the Plaintiffs. The County Officers did not breach any duty as they returned the
                                                                                                              20   goat to its rightful owner after a consent search.

                                                                                                              21            F.        The County Defendants Are Entitled To Summary Judgment On All Counts
                                                                                                                                      Because There is no Evidence to Support Monell Liability of the County, and
                                                                                                              22                      County Defendants are Entitled to Various Legal Immunities
                                                                                                              23                      1.    Background on Monell Liability
                                                                                                              24
                                                                                                                            Under Monell, local governments are “persons” subject to liability under 42 U.S.C.
                                                                                                              25
                                                                                                                   § 1983 where official policy or custom causes a constitutional tort. A city or county may not be
                                                                                                              26
                                                                                                                   held vicariously liable for the unconstitutional acts of its employees under the theory of
                                                                                                              27

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                                                                                                               1   respondeat superior. (Board of County Comm’rs v. Brown, 520 U.S. 397, 403, 117 S.Ct. 1382,

                                                                                                               2   137 L.Ed.2d 626 (1997); Monell v. Department of Soc. Svcs. 436 U.S. 658, 691 (1978)

                                                                                                               3   (“Monell”); Fuller v. City of Oakland, 47 F.3d 1522, 1534 (9th Cir.1995) (“Fuller”).)

                                                                                                               4            To impose municipal liability under § 1983 for a violation of constitutional rights, a

                                                                                                               5   plaintiff must show that: (1) the plaintiff possessed a constitutional right of which he or she was

                                                                                                               6   deprived; (2) the municipality had a policy; (3) this policy amounts to deliberate indifference to

                                                                                                               7   the plaintiff’s constitutional rights; and (4) the policy is the moving force behind the

                                                                                                               8   constitutional violation. (See, Plumeau v. School Dist. # 40 County of Yamhill, 130 F.3d 432, 438

                                                                                                               9   (9th Cir.1997).) Liability based on a municipal policy can be satisfied in one of three ways:
                                                                                                              10            (1) by alleging and showing that a city or county employee committed the alleged

                                                                                                              11            constitutional violation under a formal governmental policy or longstanding practice or
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                                                                                                              12            custom that is the customary operating procedure of the local government entity;
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                                                                                                              13            (2) by establishing that the individual who committed the constitutional tort was an

                                                                                                              14            official with final policymaking authority and that the challenged action itself was an act

                                                                                                              15            of official governmental policy which was the result of a deliberate choice made from

                                                                                                              16            among various alternatives, or

                                                                                                              17            (3) by proving that an official with final policymaking authority either delegated

                                                                                                              18            policymaking authority to a subordinate or ratified a subordinate’s unconstitutional

                                                                                                              19            decision or action and the basis for it.
                                                                                                              20            (See, Fuller, 47 F.3d at 1534; Gillette v. Delmore, 979 F.2d 1342, 1346-47 (9th Cir.1992),

                                                                                                              21   cert. denied, 510 U.S. 932, 114 S.Ct. 345, 126 L.Ed.2d 310 (1993).

                                                                                                              22                      2.    No Evidence of a Policy, Practice or Custom
                                                                                                              23            As indicated above, there is no respondeat superior liability under 42 U.S.C. § 1983. A

                                                                                                              24   public entity may be held liable only when an explicit or tacit wrongful government “policy or

                                                                                                              25   custom” causes government employees to violate a constitutional right. (Monell, supra.)

                                                                                                              26            The Supreme Court has clearly explained:

                                                                                                              27

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                                                                                                               1                      “[M]unicipal liability under § 1983 attaches where—and only
                                                                                                                                      where a deliberate choice to follow a course of action is made from
                                                                                                               2                      among various alternatives by the official or officials responsible
                                                                                                                                      for establishing final policy with respect to the subject matter in
                                                                                                               3                      question.” (Pembaur v. City of Cincinnati 475 U.S. 469, 483-84
                                                                                                                                      (1986); see also City of St. Louis v. Proprotnik 485 U.S. 112, 128
                                                                                                               4                      (1988).)

                                                                                                               5
                                                                                                                            As the Ninth Circuit reiterated with regard to Monell in Meehan v. City of Culver City,
                                                                                                               6
                                                                                                                   856 F.2d 102 (9th Cir. 1988):
                                                                                                               7
                                                                                                                                      “Proof of a single incident of unconstitutional activity is not
                                                                                                               8                      sufficient to impose liability under Monell, unless proof of the
                                                                                                                                      incident includes proof that it was caused by an existing,
                                                                                                               9                      unconstitutional [local government] policy, which policy can be
                                                                                                                                      attributed to a [local government] policymaker.” (Meehan, 856 F.2d
                                                                                                              10                      at 107, quoting City of Oklahoma v. Tuttle, 741 U.S. 808, 823-824
                                                                                                                                      (1985).)
                                                                                                              11
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                                                                                                              12            A plaintiff cannot succeed on a Section 1983 claim against a local agency unless it can be
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                                                                                                              13   shown that, an “‘action pursuant to official municipal policy of some nature caused a

                                                                                                              14   constitutional tort.’” (See Berry v. Baca 379 F.3d 764, 767 (9th Cir. 2004), quoting Monell,

                                                                                                              15   supra, 436 U.S. at 691.) To make such a showing, the plaintiff has the burden to establish four

                                                                                                              16   elements: (1) that plaintiff possessed a constitutional right of which he was deprived; (2) that the

                                                                                                              17   local governmental body had a policy; (3) that this policy “amounts to deliberate indifference” to

                                                                                                              18   the plaintiff’s constitutional right; and (4) that the policy is the “moving force behind the

                                                                                                              19   constitutional violation.” (Dougherty v. City of Covina 654 F.3d 892, 901 (9th Cir. 2011); Oviatt

                                                                                                              20   v. Pearce 954 F.2d 1470, 1474 (9th Cir. 1992) (quoting City of Canton v. Harris 489 U.S. 378,

                                                                                                              21   389-91 (1989); see also Berry, supra, 379 F.3d at 767.)

                                                                                                              22            On an initial note, Plaintiffs do not have a constitutional right to a goat they do not own.

                                                                                                              23   Furthermore, Plaintiffs have no evidence of any County policy giving rise to a violation of their

                                                                                                              24   rights under the U.S. Constitution. Indeed, Plaintiffs readily admit this in their SAC. At

                                                                                                              25   Paragraph 80, Plaintiffs state that the County Officers decision to deliver Cedar for

                                                                                                              26   “slaughter/destruction” was “…not a broad policy decision but a lower level decision.” (UMF

                                                                                                              27   85; SAC, p. 15, lns. 26-28; p. 16, lns. 1-2). Similarly in Paragraph 84 of the SAC Plaintiffs state,

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                                                                                                               1   “Further, the decision to slaughter Cedar was not a broad based policy decision.” (UMF 85; SAC,

                                                                                                               2   p. 16, lns. 23-24).

                                                                                                               3            Plaintiffs’ own statements reflect that, at most, the decision to obtain and return the goat

                                                                                                               4   was a one time “lower level decision” that was not based on any broad formal governmental

                                                                                                               5   policy or longstanding practice. Thus, there cannot be any Monell liability in this case, and

                                                                                                               6   Plaintiffs cannot assert any of their causes of action against the County or the Sheriff’s

                                                                                                               7   Department. (See, Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) [“Liability for improper

                                                                                                               8   custom may not be predicated on isolated or sporadic incidents; it must be founded upon practices

                                                                                                               9   of sufficient duration, frequency and consistency that the conduct has become a traditional
                                                                                                              10   method of carrying out policy.”]).

                                                                                                              11                      3.    Legal Immunities
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                                                                                                              12                            a.     The County Officers Are Entitled To Qualified Immunity and
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                                                                                                                                                   State Immunities
                                                                                                              13

                                                                                                              14            Qualified immunity protects government officials from liability for civil damages insofar

                                                                                                              15   as their conduct does not violate clearly established statutory or constitutional rights of which a

                                                                                                              16   reasonable person would have known. (Rodis v. City and County of San Francisco, 558 F.3d 964,

                                                                                                              17   968 (9th Cir. 2009); see also, Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).) Qualified

                                                                                                              18   immunity applies regardless of whether the official’s error is, “a mistake of law, a mistake of fact,

                                                                                                              19   or a mistake based on mixed questions of law and fact.” (Pearson v. Callahan, 555 U.S. 223, 231
                                                                                                              20   (2009) [quoting Groh v. Ramirez, 540 U.S. 551, 567 (2004)].)

                                                                                                              21            The doctrine of qualified immunity balances two important interests: (1) the need to hold

                                                                                                              22   public officials accountable when they exercise power irresponsibly; and (2) the need to shield

                                                                                                              23   officials from harassment, distraction, and liability when they perform their duties reasonably.

                                                                                                              24   (Pearson supra, 555 U.S. at 231; Rodis, supra, 558 F.3d at 968.) This is because, “it is inevitable

                                                                                                              25   that law enforcement officials will in some cases reasonably but mistakenly conclude that

                                                                                                              26   probable cause is present.” (Anderson v. Creighton, 483 U.S. 635, 641 (1987).) Importantly,

                                                                                                              27   “[t]he entitlement is an immunity from suit rather than a mere defense to liability; and like an

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                                                                                                               1   absolute immunity, it is effectively lost if a case is erroneously permitted to go to trial.” (Mitchell

                                                                                                               2   v. Forsythe, 472 U.S. 511, 526 (1985) (emphasis in original).)

                                                                                                               3            In Saucier v. Katz, 533 U.S. 194, 200 (2001), the Supreme Court set out a mandatory two-

                                                                                                               4   step process for resolving qualified immunity claims. The Supreme Court later revisited this

                                                                                                               5   analysis in Pearson, and abrogated the mandatory two-step process. (Pearson, supra, 555 U.S. at

                                                                                                               6   236.) In Anderson, supra, the Supreme Court made it clear that, in deciding whether the right

                                                                                                               7   allegedly violated by the public employee was clearly established, courts must look at the

                                                                                                               8   particular factual circumstances surrounding the incident. (Anderson, supra, 483 U.S. at 641.)

                                                                                                               9            In the Ninth Circuit, whether an official protected by qualified immunity may be held
                                                                                                              10   personally liable for an allegedly unlawful official action generally turns on the “objective legal

                                                                                                              11   reasonableness” of the action. (Rodis, supra at 968-69; quoting Harlow, 457 U.S. at 819.) The
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                                                                                                              12   constitutional violation must be “clearly established” at the time of the alleged misconduct.
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                                                                                                              13   (CarePartners, LLC v. Lashway, 545 F.3d 867, 882 (9th Cir. 2008).)

                                                                                                              14            Significantly, in Ashcroft v. Al-Kidd, 563 U.S. 731, 741 (2011), the Supreme Court

                                                                                                              15   clarified and held that conduct violates clearly established law only when, “at the time of the

                                                                                                              16   challenged conduct the contours of the right are sufficiently clear that every reasonable official

                                                                                                              17   would have understood that what he was doing violates that right.” (internal quotations omitted,

                                                                                                              18   emphasis added; see also Anderson, supra, 483 U.S. at 640.) While a case directly on point is not

                                                                                                              19   required, “existing precedent must have placed the statute or constitutional question beyond
                                                                                                              20   debate.” (Ashcroft, supra, 563 U.S. at 741.) The plaintiff in a Section 1983 action has the burden

                                                                                                              21   of overcoming a claim of qualified immunity by showing that the right that was violated was

                                                                                                              22   clearly established at the time of the conduct in issue. (Davis v. Scherer, 468 U.S. 183, 197

                                                                                                              23   (1984).)

                                                                                                              24            Here, Plaintiffs did not have a constitutional right in a goat they no longer owned after the

                                                                                                              25   auction. Furthermore, it was objectively reasonable for the County Officers to believe their

                                                                                                              26   conduct was lawful. Plaintiff Jessica Long had admitted to taking the goat. (UMF No. 63)

                                                                                                              27   Lieutenant Fernandez had conducted an investigation. (UMF No. 30.) The warrants had been

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                                                                                                               1   approved by the district attorneys’ office (UMF No. 70.) and signed by a judge (UMF No. 71.).

                                                                                                               2   Detective Duncan was given consent by Raymond Allen to search his property (UMF No. 74.).

                                                                                                               3            The County Defendants are also immune from liability under state law. California

                                                                                                               4   Government Code § 821.6 provides: “A public employee is not liable for injury caused by his

                                                                                                               5   instituting or prosecuting any judicial or administrative proceeding within the scope of his

                                                                                                               6   employment, even if he acts maliciously and without probable cause. (Cal. Gov. Code §821.6)

                                                                                                               7   Section 815.2 subdivision (b) in turn provides: “A public entity is not liable for an injury resulting

                                                                                                               8   from an act . . . of an employee of the public entity where the employee is immune from liability.”

                                                                                                               9   (Cal. Gov. Code, § 815.2, subd. (b).) It has been held that the application of Government Code
                                                                                                              10   ‘[s]ection 821.6 is not limited to the act of filing a criminal complaint. Instead, it also extends to

                                                                                                              11   actions taken in preparation for formal proceedings. Because investigation is ‘an essential step’
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                                                                                                              12   toward the institution of formal proceedings, it ‘is also cloaked with immunity.’” (Amylou R. v.
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                                                                                                              13   County of Riverside (1994) 28 Cal.App.4th 1205, 1209-1210. [Internal citations omitted.])

                                                                                                              14            Further, Section 820.2 provides: “A public employee is not liable for an injury resulting

                                                                                                              15   from his act or omission where the act or omission was the result of an exercise of the discretion

                                                                                                              16   vested in him, whether or not such discretion is abused. (Cal. Gov. Code §820.2) Section 820.2

                                                                                                              17   provides immunity to peace officers. (See, Martinez v. County of Los Angeles (1996) 47 Cal.4th

                                                                                                              18   334, 349.

                                                                                                              19            Here, each and every act of the County Officers is cloaked in immunity because each of
                                                                                                              20   their acts was inextricable intertwined with the investigation of Plaintiffs and the theft of Cedar

                                                                                                              21   the goat. By extension, the County and Sheriff’s Department cannot be liable as California law

                                                                                                              22   provides a public entity cannot be liable for the acts of its employee is if the employees are

                                                                                                              23   immune from liability. (See, Cal.Gov. Code §815.2)

                                                                                                              24   V.       CONCLUSION

                                                                                                              25            For the foregoing reasons, County Defendants respectfully request that the Court grant

                                                                                                              26   summary judgment and dismiss Plaintiffs’ SAC in its entirety. Alternatively, the County

                                                                                                              27   Defendants request that the Court grant summary adjudication of the causes of action raised in

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                                                                                                               1   this Motion.

                                                                                                               2
                                                                                                                   Dated: July 31, 2024                    BEST BEST & KRIEGER LLP
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                                                                                                                                                           By:/s/ Damian A. Northcutt
                                                                                                               5                                               JEFFREY V. DUNN
                                                                                                                                                               CHRISTOPHER M. PISANO
                                                                                                               6                                               DAMIAN A. NORTHCUTT
                                                                                                               7                                                Attorneys for Defendants
                                                                                                                                                                COUNTY OF SHASTA; SHASTA
                                                                                                               8                                                COUNTY SHERIFF’S DEPARTMENT;
                                                                                                                                                                LIEUTENANT JERRY FERNANDEZ,
                                                                                                               9                                                DETECTIVE JACOB DUNCAN, and
                                                                                                                                                                DETECTIVE JEREMY ASHBEE
                                                                                                              10

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